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 6
                           IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE NORTHERN MARIANA ISLANDS
 8   MOHAMMAD FEROJ AHMED,                         )         CASE NO. CV 09-0026
 9                                                 )
                                   Plaintiff,      )
10                   vs.                           )              STIPULATED DISMISSAL
                                                   )
11   GREGORY BAKA, Acting Attorney General and)
     MELVIN GREY, Director of Immigration, in their)
12   official and individual capacities,           )
                                                   )
13                                 Defendants.     )
                                                   )
14
15          In accord with the Settlement Agreement between the parties, and pursuant to Fed.
16   R. Civ. P. 41(a), the parties, by and through their attorneys of record, hereby stipulate to the
17   dismissal of the above-captioned case with prejudice. The Court shall retain jurisdiction over
18   the matter to enforce the terms of the Settlement Agreement. Each party shall bear their own
19   attorney’s fees and costs.
20
                                                          /s/ Mark B. Hanson
21          DATE: November 30, 2009                       ___________________________________
                                                          MARK B. HANSON
22                                                        Attorney for Plaintiff
23
24          DATED: November 30, 2009                      /s/ Braddock J. Huesman
                                                          __________________________________
25                                                        BRADDOCK J. HUESMAN
                                                          Attorney for Defendants
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